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                     THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF TENNESSEE
                             WESTERN DIVISION


 KIMBERLY DIEI,


              Plaintiff,
                                          CIVIL ACTION NO.
                                          2:21-cv-02071-JTF-cgc
       v.
                                          JURY DEMAND
 RANDY BOYD, ET AL.,


              Defendants.



                PLAINTIFF’S CONSOLIDATED OPPOSITION TO
             DEFENDANTS’ MOTIONS TO DISMISS THE COMPLAINT


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       Under this Court’s Orders dated March 8, 2021 (Order Granting Plf.’s Unopposed Mot.

for Extension of Time to Respond to Defs.’ Mots. to Dismiss, ECF No. 29) and April 7, 2021

(Order Granting Parties’ Joint Mot. for Leave to File a Single Br. in Resp. To Defs.’ Mots. to

Dismiss and to Exceed Page Limitation, ECF No. 31), Plaintiff Kimberly Diei respectfully

submits this Consolidated Opposition to Defendants’ Motions to Dismiss the Complaint and

requests that this Court deny Defendants’ motions in their entirety.

                                        INTRODUCTION

       In this First Amendment lawsuit, Plaintiff Kimberly Diei alleges the University of

Tennessee Health Science Center College of Pharmacy violated the First and Fourteenth

Amendments when it punished her for the viewpoints she expressed in off-campus, personal

speech on social media. In their motions to dismiss, Defendants fail to address the legal standard

at this stage and improperly submit material outside the Complaint, including Diei’s social media

posts from 2019 and other “professionalism” policies purportedly used to justify Diei’s

punishment. Moreover, Defendants seek to dismiss the Complaint by improperly contesting

Diei’s factual allegations. Diei has unambiguously alleged both that Defendants did not provide

her with the text of any policy she allegedly violated and that Defendants’ webpage, ostensibly

housing these policies, did not work. At the pleading stage, Defendants may not attempt to

justify their unconstitutional actions based upon a policy Diei has never seen or other material

outside the Complaint. Instead, Diei is entitled to discovery to prove her allegations that

Defendants unconstitutionally punished her because of viewpoints expressed in her social media

posts. This Court should reject Defendants’ invitation to review documents outside the

Complaint.




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       Even if this Court considers the “professionalism” policies Defendants submit to the

Court, these policies are unconstitutional both as-applied to Diei and on their face. As Diei’s

punishment demonstrates, Defendants engaged in viewpoint discrimination by punishing Diei

and applied their policies to punish Diei’s off-campus, personal speech even though her speech

had no connection to the University or disruptive effect on campus. Defendants also retaliated

against Diei for engaging in clearly protected First Amendment expression. Moreover,

Defendants’ policies are overly broad on their face because those policies are directly related to

suppressing student expression and serve no pedagogical interest. Finally, Defendants’ policies

are vague on their face because they fail to give students any notice of prohibited activities and

give administrators unbridled discretion to punish speech they dislike. Accordingly, this Court

should deny Defendants’ motions to dismiss in their entirety.

                                   STATEMENT OF FACTS

       Diei alleges that Defendants never provided her with any of the policies under which she

was disciplined in 2019 and 2020. Diei further alleges that Defendants informed her she was

punished for the “crude,” “vulgar,” and “sexual” viewpoints expressed on her off-campus,

personal social media accounts.

               Diei Alleges That Defendants Twice Punished Her for Viewpoints Expressed
               in Off-Campus, Personal Social Media Posts.

       Diei began posting on her personal “KimmyKasi” social media accounts in 2016.

(Compl., ¶ 21.) Before Diei began her studies at the University of Tennessee Health Science

Center in August 2019, she regularly posted on her social media accounts. (Id.,¶¶ 14, 27.) Since

Diei became a student at the College of Pharmacy, the College of Pharmacy Professionalism

Committee (the “Committee”), led by Chairperson George, has twice investigated her for her

protected, personal expression. (Id., ¶ 82.) Diei alleges that she never actually received or had



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 access to Defendants’ “various professionalism policies” upon her matriculation as a student.

 (Id., ¶¶ 36–40.) While Diei was informed that the College of Pharmacy maintains a policy

 entitled “Standards for Student Professionalism Conduct,” the link to that policy was not

 functioning. (Id., ¶¶ 37–39.)

         Defendants’ first investigation into Diei’s social media activity was in September 2019.

 (Id., ¶ 34.) While Diei has not based her claims on that investigation, it is evidence of

 Defendants’ hostility towards her protected speech. During its 2019 investigation, the Committee

 indicated that Diei’s posts violated the College of Pharmacy’s professionalism policies because

 they were “crude,” “vulgar,” and “sexual.” (Id., ¶ 43.) Chairperson George did not provide Diei

 with the “various professionalism policies” under which she was allegedly investigated in 2019.

 (Id., ¶ 36.)

         Defendants again investigated Diei’s social media activity in 2020 based on an

 anonymous complaint. (Id., ¶ 55.) After reviewing the anonymous complaint, the Committee

 voted to expel her because of the “crude,” “vulgar,” and “sexual” viewpoints expressed in her

 personal social media. (Id., ¶¶ 43–44.) Chairperson George explained that the Committee

 objected to Diei’s posts because they “again included material of a sexual nature, as well as

 crude and vulgar statements.” (Id., ¶ 80.)

         In 2020 Chairperson George and the Committee identified a handful of examples of

 Diei’s allegedly “unprofessional social media posts.” (Id., ¶ 55.) For example, in one tweet Diei

 proposed lyrics for a possible remix to the popular song “WAP” by Cardi B and Megan Thee

 Stallion. (Id., ¶ 60.) In another tweet, she defended the overtly sexual nature of the lyrics to

 “WAP,” pointing out that human beings are inherently sexual. (Id., ¶ 62.) As Diei alleges in her

 Complaint, these are examples of Diei using her personal social media accounts to express her




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 viewpoints on issues regarding permissible conduct by women in popular culture, occasionally

 employing profanity and other sexual commentary. (Id., ¶ 59.)

         Neither Chairperson George nor any other University of Tennessee administrator cited

 the Standards of the Health Professions or any other specific policy as the basis for punishment

 of Diei in 2020. (Id., ¶¶ 66–67, 76.) After she received the complaint in the 2020 investigation,

 Diei twice asked Chairperson George via email to identify the “specific policy/guidelines [she]

 ha[d] allegedly violated,” for a “direct link” to where such a policy or guideline resides, and to

 explain how exactly she had violated “the standard, code, policy, guideline.” (Id., ¶¶ 66, 68).

 Chairperson George stonewalled Diei’s questions; instead, she responded by referencing

 “various professionalism codes” and declining to comment further until their in-person meeting.

 (Id., ¶¶ 67, 69.)

         Diei also asked Chairperson George and the Committee to identify the policy she had

 allegedly violated during their meeting on September 1, 2020. (Id., ¶ 74). Chairperson George

 again identified the “sexual” and “crude” nature of Diei’s posts as the reason for the

 Committee’s investigation. (Id., ¶ 75.) Neither Chairperson George nor any other Committee

 member provided Diei with a specific policy she allegedly violated or quoted the language of

 any specific policy. (Id., ¶¶ 74–76). Chairperson George’s letter informing Diei that she had been

 expelled from her graduate program cited “Technical Standards,” not the Standards of the Health

 Professions policy or any other specific professionalism policy. (Id., ¶ 82). Diei appealed the

 Committee’s decision to College of Pharmacy Dean Marie Chisholm-Burns, who ultimately

 overturned Diei’s expulsion. (Id., ¶¶ 89, 92). To this day, Diei is unaware of not only the policy

 terms she allegedly violated, but also what, if any, criteria Dean Marie Chisholm-Burns used in

 deciding to overturn Chairperson George’s decision to expel her for her protected expression.




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        Diei has also alleged that Defendant Randy Boyd, as President of the University, was

 personally responsible for the approval and implementation of the “various professionalism

 policies” that Defendants cited to justify punish Diei for her expressive conduct. Specifically,

 Diei has alleged that “President Boyd is responsible for the promulgation, implementation, and

 enforcement of the College of Pharmacy’s policies, procedures, and practices, including those

 that were applied to deprive Diei of her constitutional rights.” (Id., ¶¶ 10, 137.)

        As a result of Defendants’ unconstitutional punishment of Diei’s expressive activity, Diei

 has self-censored her social media activity. (Id., ¶ 96.) At least once a day, Diei chooses not to

 post something to her social media accounts because she is afraid that the Committee will deem

 her post too “sexual,” “crude,” or “vulgar” and punish her. (Id., ¶ 98.) Despite her attempts to

 self-censor, Diei is currently living with a reasonable fear that the Committee will open another

 investigation into her social media accounts and attempt to expel her or otherwise discipline her

 once again. (Id., ¶ 97.) Defendants’ unconstitutional censorship has also caused Diei emotional

 harm because she believed that her future career as a pharmacist had been destroyed, and she

 continues to worry that the Committee will punish her in the future. (Id., ¶ 100.)

        On February 3, 2021, Diei sued President Boyd, Chairperson George, and members of

 the Board of Trustees of the University for violating her rights under the First and Fourteenth

 Amendments, seeking declaratory and injunctive relief and damages. Diei’s First and Second

 Causes of Action, brought against all Defendants in their official capacities, are facial challenges

 to the “various professionalism policies” on overbreadth and vagueness grounds. Diei’s Third

 Cause of Action, brought against all Defendants in their official capacities, is an as-applied

 challenge to Defendants’ punishment of Diei under the “various professionalism policies.” Diei’s

 Fourth Cause of Action, brought against Defendants Boyd and Chairperson George in their




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 individual capacities, is an as-applied challenge for Defendants’ punishment of Diei under the

 “various professionalism policies.” Diei’s Fifth Cause of Action, brought against Chairperson

 George in her individual and official capacities, is an as-applied claim for First Amendment

 retaliation.

                Defendants Move to Dismiss the Complaint, Relying Primarily on Materials
                Outside the Complaint.

         On March 1, 2021, Defendants filed two motions to dismiss, styled as the: (1) Official

 Capacity Defendants’ Motion to Dismiss the First, Second, and Third Causes of Action

 (Individual Capacity Defs.’ Mot. to Dismiss the Fourth and Fifth Causes of Action (“Defs.’ Ind.

 Mot.”); and (2) Individual Capacity Defendants’ Motion to Dismiss the Fourth and Fifth Causes

 of Action (Official Capacity Defs.’ Mot. to Dismiss the First, Second, and Third Causes of

 Action (“Defs.’ Off. Mot.”), ECF No. 25). Defendants did not move to dismiss Diei’s Fifth

 Cause of Action against Defendant Chairperson George in her official capacity.

         In their motions, Defendants attach and ask the Court to consider material outside the

 Complaint. First, Defendants attach six screenshots from Diei’s Instagram stories from 2019.

 Instagram’s “story” function allows a user to post an image or video that other Instagram users

 can only view for twenty-four hours. After the twenty-four hours has elapsed, the image or video

 disappears.1 When Diei learned that she was accepted to the College of Pharmacy, she created

 several Instagram stories celebrating the news. (Defs.’ Ind. Mot., Ex. 5, ECF No. 24-6 (“Diei’s

 Story Posts”), 3–6 of 7.) Diei intended these stories to be temporary, and anyone who opened

 Instagram and navigated to Diei’s page today would not be able to view them. Defendants,



 1
  For more on Instagram “stories” function, see Help Center — Using Instagram, Stories,
 INSTAGRAM,
 https://help.instagram.com/1660923094227526/?helpref=hc_fnav&bc[0]=Instagram%20Help&b
 c[1]=Using%20Instagram (last visited Mar. 30, 2021) (attached as Exhibit A).

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 apparently, retained screenshots of Diei’s posts and now claim that those posts were the basis for

 Diei’s 2019 punishment. (Defs.’ Ind. Mot., 11 of 29.)

    Second, Defendants attach “professionalism” regulations and policies—none of which were

 provided to Diei or appear in her Complaint—to justify their unconstitutional punishment of

 Diei. Specifically, Defendants attach an excerpt from the College of Pharmacy’s CenterScope

 Student Handbook entitled “Standards of the Health Professions.” (Defs.’ Ind. Mot., Ex. 3, ECF

 No. 24-4 (“Defs.’ Prof. Policy”).) Diei alleged that she was only informed about one policy

 governing professionalism, which was entitled “Standards for Student Professionalism Conduct.”

 (Compl., ¶ 37.) Defendants have produced a document that purports to show Diei agreeing to

 abide by the “Standards for Student Professionalism Conduct,” which notably does not reference

 the “Standards of the Health Professions” policy. (Defs.’ Ind. Mot., Ex. 4, ECF No. 24-5 (“Defs.’

 Pledges”).) The “Standards of the Health Professions” policy states:

                A student enrolled at the University of Tennessee Health Science
                Center is subject to disciplinary action up to and including
                suspension and dismissal for engaging in the following acts of
                misconduct, regardless of whether such misconduct is engaged in on
                or off University-owned or -controlled property:

                . . . [U]nprofessional and unethical conduct which would bring
                disrepute and disgrace upon both student and profession and which
                would tend to substantially reduce or eliminate the student’s ability
                to effectively practice the profession in which discipline he or she is
                enrolled.

 (Id.) However, Diei has alleged that the link to the “Standards for Student Professionalism

 Conduct” policy on Defendants’ website did not work, and, as a result, she has alleged that she

 has never seen that policy. (Compl., ¶¶ 39—40.) Defendants do not attempt to explain how Diei

 could have been aware of the “Standards for Student Professionalism Conduct” when it was not

 available online. Instead, Defendants have attempted to evade this issue by relying upon the




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 regulations and “Standards of the Health Professions” policy, neither of which are referenced in

 the Complaint. Moreover, Diei has specifically alleged that “[t]o this day, the College of

 Pharmacy has not provided any specific ‘professionalism’ policies to [her],” and Defendants

 must accept this allegation as true. (Id., ¶ 116.)

        As argued below, this Court should reject Defendants’ invitation to consider these

 materials outside the Complaint and deny Defendants’ motions to dismiss in their entirety.

                                            ARGUMENT

        After addressing the proper standard of review and Defendants’ improper attempts to

 contest the well-pleaded facts in the Complaint in Section I, this brief discusses Diei’s as-applied

 claims before her facial challenges. See Connection Distribution Co. v. Holder, 557 F.3d 321,

 327 (6th Cir. 2009) (“[T]he ‘usual judicial practice’ is to address an as-applied challenge before a

 facial challenge.”) (citation omitted). Accordingly, Section II demonstrates that Diei’s Third and

 Fourth Causes of Action sufficiently state a claim that Defendants unconstitutionally applied

 “various professionalism policies” to Diei’s off-campus speech in 2020. Section III explains why

 Diei’s Fifth Cause of Action sufficiently states a claim against Chairperson George in her

 individual and official capacities for retaliating against Diei by investigating and punishing her

 because of her viewpoints expressed in off-campus, online speech. Section IV refutes

 Defendants’ claims of qualified immunity. Finally, Section V demonstrates that Diei sufficiently

 alleges facial challenges to Defendants’ “various professionalism policies” as unconstitutionally

 overbroad and vague.

                This Court Should Reject Defendants’ Invitation to Consider Material
                Outside the Complaint.

        Defendants ignore the standard for motions to dismiss. To prevent dismissal under Fed.

 R. Civ. P. 12(b)(6), a complaint must set out sufficient factual matter to show that the claim is



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 facially plausible. Casas v. Laquinta Holdings, Inc., Case Nos. 16-cv-2951; 17-cv-2236; 17-cv-

 2273; 17-cv-2427; 17-cv-2504; 17-cv-2505; 17-cv-2515; 17-cv-2558; 17-cv-2664; 17-cv-2680,

 2018 U.S. Dist. LEXIS 222089, at *20 (W.D. Tenn. Sep. 26, 2018) (Fowlkes, J.) (citing Ashcroft

 v. Iqbal, 556 U.S. 662, 678 (2009) (denying motions to dismiss, in part, because defendants

 failed to accept all factual allegations as true)). Even when defendants move to dismiss on the

 basis of qualified immunity, “[a]s with any other motion to dismiss, we perform this analysis

 while accepting the plaintiff’s factual allegations as true and drawing all reasonable inferences in

 his favor.” Anders v. Cuevas, 984 F.3d 1166, 1175 (6th Cir. 2021). “[A] well-pleaded complaint

 may proceed even if it strikes a savvy judge that actual proof of those facts is improbable, and

 ‘that a recovery is very remote and unlikely.’” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 556

 (2007) (citation omitted). As this Court has recognized, “a complaint does not need detailed

 factual allegations to survive dismissal.” Casas, 2018 U.S. Dist. LEXIS 222089, at *21.

        “When reviewing a motion to dismiss, a district court may not consider matters beyond

 the complaint.” Winget v. JP Morgan Chase Bank, N.A., 537 F.3d 565, 576 (6th Cir. 2008). “If,

 on a motion under Rule 12(b)(6) . . . matters outside the pleadings are presented and not

 excluded by the court, the motion must be treated as one for summary judgment under Rule 56.

 All parties must be given a reasonable opportunity to present all the material that is pertinent to

 the motion.” Fed. R. Civ. P. 12(d). The Sixth Circuit has warned that district courts must exercise

 “‘great caution and attention to the parties’ procedural rights’” before converting a motion to

 dismiss to a motion for summary judgment. Tackett v. M&G Polymers, USA, LLC, 561 F.3d 478,

 487 (6th Cir. 2009) (citation omitted). Moreover, the Sixth Circuit “has recognized that it may

 consider items appearing in the record of the case, including exhibits, without converting a Rule

 12(b)(6) motion into a motion for summary judgment, but only “‘so long as they are referred to




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 in the complaint and are central to the claims contained therein.’” Trs. of Detroit Carpenters

 Fringe Benefit Funds v. Patrie Constr. Co., 618 F. App’x 246, 255 (6th Cir. 2015) (emphasis in

 original) (citation omitted); see also Tigrett v. Cooper, 855 F. Supp. 2d 733, 757 (W.D. Tenn.

 2012) (“the Court is merely testing the sufficiency of Plaintiffs’ pleading, and any consideration

 of evidence outside the Complaint would be inappropriate.”).

        First, Defendants inappropriately rely on six screenshots and a video allegedly used by

 Defendants to punish Diei in 2019. (Defs.’ Ind. Mot., 11 of 29.) These posts, however, do not

 appear and are not referenced in the Complaint. Instead, Diei alleged that “Chairperson George

 also did not identify the specific content from Diei’s social media accounts that were

 objectionable, including the specific content that prompted the investigation.” (Compl., ¶ 41.)

 Despite this clear allegation that Defendants did not provide the posts to Diei in 2019,

 Defendants now ask the Court to use screenshots of her social media activity it apparently

 retained when ruling on this motion. Because those screenshots do not appear and are not

 referenced in the Complaint, this Court cannot consider them at this stage. Tigrett, 855 F. Supp.

 2d at 757 (refusing to review legislative history of challenged statutes in denying motion to

 dismiss).

        Second, Defendants improperly rely on the “Standards of the Health Professions,”

 contained within their CenterScope Student Handbook, and two Tennessee regulations governing

 pharmacists to justify their punishment of Diei. (Defs.’ Ind. Mot., 10–11 of 29.) As alleged in the

 Complaint, Diei twice asked Chairperson George during the 2020 investigation to identify the

 “specific policy/guidelines [she] ha[d] allegedly violated,” for a “direct link” to where such a

 policy or guideline resides, and to explain how exactly she had violated “the standard, code,

 policy, guideline.” (Compl., ¶ 66, 68.) Chairperson George stonewalled Diei’s questions; instead,




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 she responded by referencing “various professionalism codes” and declining to comment further

 until their in-person meeting. (Id., ¶¶ 67, 69.) As a result, Diei did not know what policy was

 used to discipline her. The only policy that appears in Diei’s Complaint is the “Standards for

 Student Professionalism Conduct” policy—which Diei alleges that she has never seen. (Id.,

 ¶ 38.) Indeed, Diei affirmatively pleads that Defendants have “not provided any specific

 ‘professionalism’ policies to Diei.” (Id., ¶ 116.) In short, it took Diei filing a lawsuit against the

 Defendants to finally receive a response to her question about what policy was being used to

 punish her viewpoints. It would be implausible to find that Diei’s Complaint references the

 “Standards of the Health Professions” policy itself or the Tennessee regulations it purports to

 enforce because she clearly alleges that she never received those policies or knew of their

 existence. Because the “Standards of the Health Professions” policy and the Tennessee

 regulations it purports to enforce do not appear and are not referenced in the Complaint, this

 Court cannot consider them at this stage. Nevertheless, this Court may also deny Defendants’

 motions to dismiss because Diei has sufficiently alleged a plausible claim for relief on her as-

 applied and facial challenges.

                Diei’s Third and Fourth Causes of Action Sufficiently Allege That
                Defendants’ Policies Were Unconstitutionally Applied to Diei’s Off-Campus,
                Personal Speech.

        For decades, it has been settled law that the First Amendment rights of college students

 are coextensive with the public at large. Healy v. James, 408 U.S. 169, 180 (1972) (“[T]he

 precedents of this Court leave no room for the view that, because of the acknowledged need for

 order, First Amendment protections should apply with less force on college campuses than in the

 community at large. Quite to the contrary, ‘the vigilant protection of constitutional freedoms is

 nowhere more vital than in the community of American schools.’”) (citations omitted). Despite




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 this precedent, the Sixth Circuit has incorrectly held that restrictions on the First Amendment

 rights of students from high school to college are analyzed under the same paradigm. Ward v.

 Polite, 667 F.3d 727, 733–34 (6th Cir. 2012) (holding that there is no “stop-go

 distinction between student speech at the high school and university levels . . . .”).2 Nevertheless,

 Diei has sufficiently stated claims under Sixth Circuit precedent based upon Defendants’

 punishment of her off-campus, personal speech.

        The Sixth Circuit has derived its student speech jurisprudence from the Supreme Court’s

 opinions in Tinker v. Des Moines Independent Community School Dist., 393 U.S. 503 (1969),

 Bethel School District No. 403 v. Fraser, 478 U.S. 675 (1986), and Hazelwood School District v.

 Kuhlmeier, 484 U.S. 260 (1988). See Ward, 667 F.3d at 733–34. The Sixth Circuit has made

 clear school administrators may not “invoke curriculum as a pretext for punishing” a student

 because of her viewpoint, even if those viewpoints are offensive. Id. at 734 (citation omitted).

 “Viewpoint discrimination is poison to a free society.” Iancu v. Brunetti, 139 S. Ct. 2294, 2302

 (2019) (Alito, J., concurring). “We have said time and again that ‘the public expression of ideas

 may not be prohibited merely because the ideas are themselves offensive to some of their

 hearers.’” Matal v. Tam, 137 S. Ct. 1744, 1763 (2017) (quoting Street v. New York, 394 U.S.

 576, 592 (1969)). As the Supreme Court recently reaffirmed, “[g]iving offense is a viewpoint.”

 Id. at 1749.

            A. Diei Has Alleged That Defendants Punished Her Because of Her “Offensive”
               Viewpoints.

        In the Sixth Circuit, it is clearly established that administrators may not invoke

 curriculum as pretext for punishing a student for her viewpoints. In Ward, the Sixth Circuit


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  Diei preserves the ability to argue in future stages that the Sixth Circuit’s decision in Ward
 should be overruled with regard to its application of K-12 student speech cases to college student
 speech.

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 reviewed a graduate school’s expulsion of a student in a counseling program for allegedly

 violating the American Counseling Association’s (ACA) code of ethics, which were incorporated

 into the student handbook. Ward, 667 F.3d at 731. The graduate program administrators

 determined that the plaintiff’s request to refer homosexual clients to other therapists instead of

 affirming their sexual orientation based upon her religious beliefs violated the code of ethics. Id.

 at 735. The plaintiff, however, alleged that the administrators invoked the code of ethics as

 pretext for disciplining her based upon her religious viewpoints. Id.

        The Sixth Circuit denied summary judgment to the defendants, explaining that it was not

 clear that the plaintiff’s actions violated the code of ethics because “[t]he university cannot point

 to any policy articulated in its course materials, the student handbook or anything else forbidding

 practicum students from making referrals.” Id. at 736. Although the plaintiff’s actions did not

 violate the text of the code of ethics, the defendants attempted to justify expelling the student

 under “a ‘blanket rule’ that [students] could not refer any clients.” Id. The Sixth Circuit rejected

 these arguments, finding that “[a]lthough the university submits it dismissed Ward from the

 program because her request for a referral violated the ACA code of ethics, a reasonable jury

 could find otherwise—that the code of ethics contains no such bar and that the university

 deployed it as a pretext for punishing Ward’s religious views and speech.” Id. at 735.

        In her Complaint, Diei alleges that Defendants punished her for expressing viewpoints

 off-campus that they considered “sexual,” “crude,” and “vulgar.” Defendants seek to justify that

 punishment — both then and now in their motion to dismiss — by referencing “various

 professionalism policies.” But as the Sixth Circuit made clear in Ward, professionalism policies

 maintained by a public university must meet First Amendment standards and cannot justify

 viewpoint discrimination. In the 2019 incident, Chairperson George told Diei that the “sexual,”




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 “crude,” and “vulgar” viewpoints expressed on her social media accounts violated the College of

 Pharmacy’s professionalism policies. (Compl., ¶ 43.) However, Chairperson George neither

 provided these “professionalism” policies to Diei nor explained how her allegedly “sexual” and

 “crude” viewpoints expressed off-campus on her own time violated the professionalism policies.

 (Id. ¶ 44.) Similarly, in 2020, Chairperson George explained that the Committee objected to

 Diei’s “posts again [because they] included material of a sexual nature, as well as crude and

 vulgar statements.” (Id. ¶ 80.) Chairperson George then justified the Committee’s viewpoint

 discriminatory punishment under the guise of an unidentified professionalism policy, stating that

 “the committee has determined that [Diei’s] conduct is a serious breach of the norms and

 expectations of the profession, that [Diei] doe[es] not meet the minimum thresholds of

 professional behavior or the requirements of the Technical Standards for students in the UTHSC

 College of Pharmacy.” (Id. ¶ 82.) Despite Chairperson George’s references to the various

 professionalism policies in the UTHSC Handbook, Catalog, and “Technical Standards for

 students in the UTHSC College of Pharmacy[,]” Chairperson George never provided Diei the

 text of these policies or explained how the allegedly “sexual,” “crude,” or “vulgar” nature of her

 personal social media content violated those policies. (Id. ¶ 85.) As in Ward, Defendants attempt

 to cloak impermissible viewpoint discrimination by reference to an impermissibly broad and

 vague catch-all “professionalism” policy. As in Ward, this court should reject the effort.

        Indeed, in their motions, Defendants ignore that Diei has alleged viewpoint

 discrimination. Instead, Defendants assume that Chairperson George applied a policy entitled

 “Standards of the Health Professions” to Diei. (Defs.’ Ind. Mot., 10–11 of 29.) As explained

 above, Diei has never seen this policy, and there is no allegation in the Complaint that

 Defendants used this policy to punish Diei. Defendants also assert that Diei agreed to abide by




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 this policy by signing a document entitled “Standards for Student Professional Conduct.” (Id.)

 However, like Diei’s Complaint, the “Standards for Student Professional Conduct” does not

 mention the “Standards of the Health Professions” or “UTHSC’s APA Professionalism Rule.”

 (Id.) At this stage of litigation, Defendants may not contradict the allegations of the Complaint.

 This Court, however, can find that Defendants’ reliance on the “Standards of the Health

 Professions” in this lawsuit shows that Defendants’ decision to expel Diei was improperly

 motivated by her viewpoints, not her alleged violation of the “various professionalism policies.”

        Like in Ward where the Sixth Circuit precluded summary judgment based upon

 defendants’ punishment of a student’s in-class speech, in part, because “[t]he university cannot

 point to any policy articulated in its course materials, the student handbook or anything else

 forbidding practicum students from making referrals,” neither the “Standards of the Health

 Professions” nor any of the policies identified in the Complaint prohibit “sexual,” “crude,” or

 “vulgar” social media posts that occur entirely off-campus, are non-disruptive, and are unrelated

 to any legitimate pedagogical concern. Specifically, as Defendants note in their motion, a student

 may only be expelled under the “Standards for Student Professional Conduct” if the Defendants

 determine that the student’s behavior “would tend to substantially reduce or eliminate the

 student’s ability to effectively practice the profession [of pharmacy].” (Defs.’ Off. Mot., 18 of

 21.) However, Defendants did not determine that Diei’s social media posts would interfere with

 her ability to practice pharmacy; instead, Chairperson George wrote that Diei’s social media

 posts were “a serious breach of the norms and expectations of the profession . . . .” (Compl.,

 ¶ 82.) Chairperson George’s failure to engage in the analysis outlined in the “Standards for

 Student Professional Conduct” supports Diei’s allegation that it was the viewpoints she




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 expressed off-campus, not a violation of any identifiable policy, that caused Defendants to vote

 to expel her.

        Because Ward would preclude summary judgment based upon the factual dispute about

 the basis for Diei’s punishment, this Court should deny Defendants’ motion to dismiss.

            B. Defendants Have No Basis for Disciplining Diei’s Off-Campus, Personal
               Speech.

        As noted above, the Sixth Circuit instructs lower courts to apply the Tinker, Fraser, and

 Hazelwood line of cases when analyzing the First Amendment rights of students. Ward, 667 F.3d

 at 733–34. As the Sixth Circuit summarized in Barr v. Lafon, Tinker, Fraser, and Hazelwood

 establish three principles. 538 F.3d 554 (6th Cir. 2008). First, “under Fraser, a school may

 categorically prohibit vulgar, lewd, indecent, or plainly offensive student speech [on campus].”

 Id. at 563–64. Second, “under Hazelwood, a school has limited authority to censor school-

 sponsored speech in a manner consistent with pedagogical concerns.” Id. at 564. And third, as to

 student speech not addressed in Fraser and Hazelwood, “the Tinker standard applies . . . and

 allows regulation only when the school reasonably believes that the speech will substantially and

 materially interfere with schoolwork or discipline.” Id. The Sixth Circuit has cautioned that “the

 less the speech has to do with the curriculum and school-sponsored activities, the less likely any

 suppression will further a legitimate pedagogical concern . . . .” Ward, 667 F.3d at 734.

        As described in more detail below, Tinker, Fraser, Hazelwood, and Ward each concern

 either in-school or school-sponsored speech, unlike Diei’s off-campus, personal social media

 posts. In Yoder v. University of Louisville, the Sixth Circuit observed that “neither the Supreme

 Court nor a panel of our circuit has considered whether schools can regulate off-campus, online

 speech by students . . . .” 526 F. App’x 537, 545 (6th Cir. 2013). Since Yoder, however, one

 court in this district considered whether a school can regulate the off-campus, online speech of



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 students and held that such regulation is unconstitutional. Nixon v. Hardin Cty. Bd. of Educ., 988

 F. Supp. 2d 826, 830 (W.D. Tenn. 2013). Before examining Nixon, a short summary of Tinker,

 Fraser, and Hazelwood is necessary.

        In Tinker, the Court reviewed a school’s policy that prohibited students from wearing an

 armband on campus, which the school established after learning that a group of students planned

 to wear black armbands to protest the Vietnam War. 393 U.S. at 504. The school suspended the

 students when they wore the armbands, even though there was no actual disturbance on campus.

 Id. at 504, 514. “The District Court concluded that the action of the school authorities was

 reasonable because it was based upon their fear of a disturbance from the wearing of the

 armbands.” Id. at 508. The Supreme Court disagreed, explaining a “mere desire to avoid the

 discomfort and unpleasantness that always accompany an unpopular viewpoint” was not

 sufficient to warrant a prohibition of student speech on school grounds. Id. at 509. Instead, the

 Court held that, in light of the “special characteristics of the school environment,” schools could

 not restrict student expression unless the expression “materially disrupts classwork or involves

 substantial disorder or invasion of the rights of others.” Id. at 506, 513. Importantly, the

 expression at issue in Tinker occurred on school grounds, and in limiting its holding to on-

 campus speech, the Tinker Court recognized both that “[s]chool officials do not possess absolute

 authority over their students” and that students “out of school are ‘persons’ under our

 Constitution,” when they are off-campus, students’ expression is their own and punishable only

 under the First Amendment’s narrow exceptions. Id. at 511.

        In Fraser, the Court reviewed a school’s punishment of a student for delivering a speech

 for student government office at an assembly in which the student “referred to his candidate in

 terms of an elaborate, graphic, and explicit sexual metaphor.” 478 U.S. at 677–78. The Court




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 upheld the school’s punishment of the student, explaining that it is appropriate for the school to

 police “lewd, indecent, or offensive speech and conduct” that occurs in school because “school

 authorities [are] acting in loco parentis, to protect children — especially in a captive audience . .

 . .” Fraser, 478 U.S. at 683–684. In a later case involving student speech, the Court emphasized

 the limits of schools’ jurisdiction over student speech, explicitly noting that “[h]ad Fraser

 delivered the same speech in a public forum outside the school context, it would have been

 protected.” Morse v. Frederick, 551 U.S. 393, 405 (2007).

        In Hazelwood, the Court reviewed a school’s censorship of two student newspaper

 articles about pregnant students and the impact of divorce on students. 484 U.S. at 263. The

 Court upheld the censorship of these articles because the school’s newspaper “bear[s] the

 imprimatur of the school” and the censorship was “reasonably related to legitimate pedagogical

 concerns.” Id. at 271, 273. As the Court explained in its holding, “educators do not offend the

 First Amendment by exercising editorial control over the style and content of student speech in

 school-sponsored expressive activities so long as their actions are reasonably related to

 legitimate pedagogical concerns.” Id. at 273 (emphasis added).

        The Sixth Circuit’s student speech jurisprudence does not permit punishment of students

 for their off-campus, personal social media. In Nixon, a school disciplined a sixth-grade student

 for jokingly tweeting that she was going to physically harm a classmate. 988 F. Supp. 2d at 830.

 The court acknowledged that the Sixth Circuit did not provide any guidance on whether schools

 may regulate off-campus, online student speech, but it concluded that Tinker, Fraser, and

 Hazelwood provided the analysis needed for the case. Id. at 833–39. On a full record, the court

 denied summary judgment to the defendants because the school’s punishment was not

 permissible under the Sixth Circuit’s student speech jurisprudence. Id. at 839. Tinker did not




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 justify punishment because “[n]o disruption of school activities or impact on the school

 environment has been shown.” Id. Fraser did not justify punishment because “[t]he speech was

 not made at school, directed at the school, or involved the use of school time or equipment.” Id.

 Finally, Hazelwood did not justify punishment because “the speech had no connection to [the

 school] whatever other than the fact that both the speaker and the target of the speech studied

 there.” Id.

         Those rulings compel the same result here. Like the school in Nixon that exceeded their

 constitutional authority to punish student speech, Defendants have no basis to punish Diei’s off-

 campus posts as KimmyKasi under Tinker, Fraser, and Hazelwood. Tinker does not permit

 punishing Diei because her posts have never caused a disruption on campus or interfered with

 the rights of other students. (Compl., ¶ 28.) Fraser does not permit punishing Diei because she

 does not post in class or use school time or equipment to create her posts. (Id., ¶¶ 32–33, 145.)

 Fraser states that “vulgar” student speech may be restricted in certain contexts, but only when it

 occurs on school grounds; the Supreme Court explicitly noted in Morse that off-campus “vulgar”

 speech is entitled to full First Amendment protection. Morse, 551 U.S. at 405 (clarifying that

 “[h]ad Fraser delivered the same speech in a public forum outside the school context, it would

 have been protected.”). Finally, Hazelwood does not permit punishing Diei because her posts did

 not “bear the imprimatur of the school” and the censorship was not “reasonably related to

 legitimate pedagogical concerns.” 484 U.S. at 271, 273; Compl., ¶¶ 145–146.

         Because Diei has alleged that Defendants’ punishment against her for her off-campus,

 online speech is unconstitutional as-applied under the Sixth Circuit’s student speech

 jurisprudence and its application in Nixon, this Court should deny Defendants’ motions to

 dismiss.




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            C. Defendants’ Unconstitutional Punishment Was Not an “Academic
               Determination” and Does Not Further Any Legitimate Pedagogical Concern.

        As argued above, Ward is controlling authority that Defendants may not avoid.

 Nevertheless, Defendants attempt to evade Ward by building an argument based upon dicta in

 Sixth Circuit cases that do not involve First Amendment claims and out-of-circuit cases

 concerning “professionalism.” In short, Defendants take the position that a university is free to

 punish any student speech so long as the university states that it is enforcing a “professionalism”

 policy. The only precedential Sixth Circuit opinion that Defendants have identified to support

 their position is Al-Dabagh v. Case Western Reserve University, 777 F.3d 355 (6th Cir. 2015).

 As argued below, Al-Dabagh does not support Defendants’ conclusion, and the Sixth Circuit’s

 subsequent analysis of the issues in Al-Dabagh undermines Defendants’ arguments.

        In Al-Dabagh, a medical student was dismissed from his program after the university

 determined that he “lack[ed] professionalism” based upon a number of conduct issues. 777 F.3d

 at 359. The Al-Dabagh plaintiff brought a single claim for breach of contract—a crucial fact

 omitted from Defendants’ analysis. Id. The Sixth Circuit explained that Ohio law and “Federal

 Due Process law” require courts to give deference to a university’s “academic judgment.” Id.

 The Sixth Circuit then found that the defendants’ “professionalism determination is an academic

 judgment” entitled to deference. Id. at 360. Based upon this holding, Defendants argue that this

 Court must defer to its “academic judgment” concerning Diei’s professionalism. (Defs.’ Ind.

 Mot., 13–14 of 29.) The Sixth Circuit, however, has recently clarified its holding in Al-Dabagh.

        In Endres v. Northeast Ohio Medical University, a student brought several causes of

 action, including a Due Process claim, against a medical school that dismissed him for cheating

 on an exam. 938 F.3d 281, 299 (6th Cir. 2019). Concerning the Due Process claim, the parties

 disputed whether the student was dismissed for an “academic” reason as opposed to a



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 “disciplinary” reason. Id. at 297. Under Due Process jurisprudence, the distinction between

 “academic” and “disciplinary” is crucial because students dismissed for “academic” reasons are

 entitled to less procedural protections. Id. at 297–98; see also Bd. of Curators of Univ. of Mo. v.

 Horowitz, 435 U.S. 78, 85–90 (1978). The defendants argued that the decision to dismiss the

 student for cheating was an “academic” determination akin to the “professionalism”

 determination in Al-Dabagh. Endres, 938 F.3d at 297–98. The Sixth Circuit, however, rejected

 the defendants’ broad interpretation of Al-Dabagh and a universities’ ability to limit the process

 due to students by construing all discipline as an “academic” determination. Id. at 299.

        The Sixth Circuit observed that “it cannot be the case that because [a student’s] alleged

 misconduct somehow relates to a professional trait, the medical school need only treat the matter

 as academic and provide the student with minimal process.” Id. The Sixth Circuit was correctly

 concerned that universities would be incentivized to construe all disciplinary matters as relating

 to a “professional” trait, and, therefore, an “academic” determination with limited procedural

 protections. Id. As the Sixth Circuit warned, a “school could reasonably construe all types of

 misconduct as a sign of the student’s lack-of-professionalism and thus avoid providing the

 student with the heighted procedures that the Due Process Clause may demand.” Id. The Sixth

 Circuit also rejected the defendants’ argument that courts must defer to a university’s

 determination concerning when discipline is “academic,” explaining that “[w]hether the

 university describes conduct as academic or disciplinary does not dictate what process the

 Constitution demands. As a default, it is the Constitution, not a university handbook, that

 establishes what process is due: the Constitution sets ‘the floor or lowest level of procedures

 acceptable.’” Id. at 300 (citation omitted).




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        Like the defendants in Endres who argued that the court was required to defer to its

 “academic” judgment to determine the level of process due under the Constitution, Defendants

 have argued universities may evade well-established First Amendment jurisprudence because

 they punished Diei under a “professionalism” policy. (Defs.’ Ind. Mot., 13–14 of 29.) Like the

 plaintiff in Endres who argued that his dismissal for cheating was not an “academic”

 determination, Diei has alleged that Defendants punished her for her viewpoints, not because she

 violated a professionalism policy. Although Diei has not alleged a procedural due process claim,

 the Sixth Circuit’s concern that a university would attempt to avoid well-established

 constitutional constraints on its ability to punish students by invoking a “student’s lack-of-

 professionalism” applies equally in the First Amendment context.

        Importantly, Defendants argue that universities may evade normal First Amendment

 constraints and punish students for violating “professionalism” policies because “[a] university’s

 teaching and requiring adherence to such professional standards serves a ‘legitimate pedagogical

 concern in teaching its students to comply with’ the code of ethics in their field.” (Id., 13 of 29.)

 However, the Supreme Court has recently held, in National Institute of Family and Life

 Advocates v. Becerra, that the speech of professionals is not entitled to less First Amendment

 protections, specifically noting that the government may not impose “content-based restrictions”

 on professional speech. 138 S. Ct. 2361, 2372 (2018).

        Given that Becerra precludes content-based punishment of professionals, Defendants

 have no pedagogical interest in enforcing a professionalism policy that would be unconstitutional

 as applied to a working pharmacist. As noted above, the Nixon court already determined that the

 off-campus, personal speech of a sixth grader was protected under the Tinker, Fraser, and

 Hazelwood line of cases. Under the Defendants’ position, the First Amendment would protect




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 students’ off-campus, online speech until the point at which a university could claim to be

 teaching “professionalism,” even if the basis for their decision is based upon the student’s

 viewpoint—a result that would clearly violate the First Amendment if applied to professional

 pharmacists under Becerra.

        Because Defendants’ position would allow universities to “reasonably construe all types

 of [speech] as a sign of the student’s lack-of-professionalism and thus avoid providing the

 student with the” protections of the First Amendment, this Court should reject Defendants’

 position and deny their motions to dismiss. Endres, 938 F.3d at 299.

            D. Diei Has Sufficiently Alleged Personal Involvement by Boyd.

        Under Section 1983, a supervisor may be individually liable based upon some “‘active

 [un]constitutional behavior’ on the part of the supervisor.’” Colson v. City of Alcoa, No. 3:16-

 CV-377, 2017 U.S. Dist. LEXIS 66339, at *16 (E.D. Tenn. May 2, 2017) (citation omitted). A

 plaintiff can show “active unconstitutional behavior” if the supervisor “(1) ‘encouraged the

 specific incident of misconduct or in some other way directly participated in it’ or (2) ‘implicitly

 authorized, approved, or knowingly acquiesced in the unconstitutional conduct.’” Id. (citation

 omitted). Courts from California to Mississippi have found that university officials can be liable

 under Section 1983 for approving and implementing a policy that caused a constitutional

 deprivation. See OSU Student All. v. Ray, 699 F.3d 1053, 1076 (9th Cir. 2012) (“[a]dvancing a

 policy that requires subordinates to commit constitutional violations is always enough for § 1983

 liability . . . so long as the policy proximately causes the harm — that is, so long as the plaintiff’s

 constitutional injury in fact occurs pursuant to the policy.”); see also Brown v. Jones Cty. Junior

 Coll., 463 F. Supp. 3d 742, 757 (S.D. Miss. 2020) (“there is an alternative basis for supervisory

 liability when a plaintiff alleges that the supervisor implemented ‘a policy so deficient that the




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 policy ‘itself is a repudiation of constitutional rights’ and is ‘the moving force of the

 constitutional violation.’”) (citation omitted).

        Boyd was personally responsible for the approval and implementation of the

 “professionalism” policy that caused Diei’s constitutional deprivation. Diei has alleged that

 “President Boyd is responsible for the promulgation, implementation, and enforcement of the

 College of Pharmacy’s policies, procedures, and practices, including those that were applied to

 deprive Diei of her constitutional rights.” (Compl., ¶¶ 10, 137.) Diei has also alleged that

 “President Boyd knew or reasonably should have known that the College of Pharmacy’s policies,

 procedures, and practices would lead to this deprivation,” and that he “knew that individuals

 under his supervision implemented the College of Pharmacy’s policies, procedures, and practices

 that deprived Diei of her constitutional rights, and President Boyd, with deliberate indifference,

 failed to act with regard to the constitutional rights of Diei and all the College of Pharmacy

 students.” (Id., ¶ 10.) In short, Diei has alleged that Boyd “implemented ‘a policy so deficient

 that the policy ‘itself is a repudiation of constitutional rights’ and is ‘the moving force of the

 constitutional violation.’” Brown, 463 F. Supp. 3d at 757 (citation omitted).

        Because Diei has alleged that Boyd implemented an unconstitutional policy to deprive

 her of her First Amendment rights and Defendants must accept these factual allegations at this

 stage, this Court should deny Defendants’ motions to dismiss on the grounds that Boyd was not

 personally involved in Diei’s constitutional deprivation.

                Diei’s Fifth Cause of Action Sufficiently States Claims Against Chairperson
                George in Her Individual Capacity for First Amendment Retaliation.

        To sustain a First Amendment retaliation claim, Diei must establish three elements:

 “‘(1) [she] engaged in constitutionally protected speech or conduct; (2) an adverse action was

 taken against [her] that would deter a person of ordinary firmness from continuing to engage in



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 that conduct; [and] (3) . . . the adverse action was motivated at least in part by [her] protected

 conduct.’” Anders, 984 F.3d at 1175 (citation omitted). As argued below, Diei has sufficiently

 alleged claims for First Amendment retaliation.3

            A. Diei’s Social Media Posts Are Clearly Protected Expression.

        Diei engaged in protected expression when she posted on her personal social media

 accounts. As a general matter, speech is protected if it does not fall into one of the “historic and

 traditional categories” of unprotected speech, such as incitement, fighting words, obscenity, or

 defamation. See United States v. Stevens, 559 U.S. 460, 468 (2010); see also Becerra, 138 S. Ct.

 at 2373 (citing Stevens in discussion of regulations on professional conduct that burden speech).

 Diei’s social media posts do not fall into any of these well-established categories of unprotected

 speech, and are therefore presumptively protected under the First Amendment.

        Moreover, the First Amendment certainly protects expression “‘that may be ‘fairly

 characterized as constituting speech on a matter of public concern.’” Anders, 984 F.3d at 1175

 (citation omitted). “In order to conclude that speech addresses a matter of public concern, this

 court must be able to fairly characterize the expression as relating to any matter of political,

 social, or other concern to the community.” Id. at 1176 (citations omitted).

        Diei used profanity and sexual commentary to express her viewpoints on issues regarding

 permissible conduct by women in popular culture. When the song “WAP” was released, Diei

 found that many individuals were criticizing the song’s explicit, sexual lyrics. (Compl., ¶¶ 59–

 62.) Diei disagreed with the criticism of the song, which she perceived to be largely coming from

 men condemning a woman for speaking brashly about her sexual desires. Diei engaged in this

 conversation by defending the lyrics of WAP and suggesting lyrics to a remix to support women


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   Defendants have not moved to dismiss the official capacity claim for First Amendment
 retaliation.

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 expressing their sexuality though lyrical raps. (Id.) Given that Defendants themselves do not

 argue that Diei’s 2020 social media posts are not protected speech on a matter of public concern,

 this Court should find that Diei has alleged that she spoke on a matter of public concern.

            B. Defendants’ Punishment of Diei Would Deter a Student of Ordinary Firmness
               from Continuing to Engage in Protected Expression.

        “Whether a retaliatory action is sufficiently severe to deter a person of ordinary firmness

 from exercising his or her rights is a question of fact.” Bell v. Johnson, 308 F.3d 594, 603 (6th

 Cir. 2002) (emphasis added). The Sixth Circuit “has described an adverse action as ‘one that is

 ‘capable of deterring a person of ordinary firmness’ from exercising the constitutional right in

 question. [The Sixth Circuit has] also held that nothing justifies ‘harassing people for exercising

 their constitutional rights,’ so the deterrent effect on speech ‘need not be great’ to be actionable.”

 Anders, 984 F.3d at 1176 (citations omitted).

        A defendant instituting disciplinary proceedings against a student in retaliation for

 protected speech is sufficient to deter a student of ordinary firmness from engaging in protected

 speech. In Thompson v. Ohio State University, a student filed a First Amendment retaliation

 claim against a professor who filed a complaint alleging that the plaintiff violated the student

 code of conduct. 990 F. Supp. 2d 801, 809 (S.D. Ohio 2014). The professor moved to dismiss the

 First Amendment retaliation claim under Fed. R. Civ. Pro. 12(b)(6), arguing that the filing of

 charges itself is not sufficient to deter a student from continuing to engage in protected speech.

 Id.

        The court disagreed, explaining that “[t]o the extent [the defendant] alleges that the filing

 of charges is not enough of an adverse action to chill a person of ordinary firmness, the Court is

 unpersuaded.” Id. Moreover, the professor further argued that he was entitled to qualified

 immunity because “there was no ‘clearly established law’ that would have put [the professor] on



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 notice that the ‘mere filing of a conduct charge’ would be an adverse action for First Amendment

 retaliation purposes.” Id. at 812 (citation omitted). The court, again, rejected the professor’s

 argument noting that the plaintiff specifically alleged that the professor made the report because

 of protected speech, which is significant because “[i]n the context of a retaliation claim, the focus

 of the qualified immunity analysis is on the retaliatory intent of the defendant.” Id. The Sixth

 Circuit recently reaffirmed, in Speech First, Inc. v. Schlissel, that “the threat of punishment from

 a public official who appears to have punitive authority can be enough to produce an objective

 chill.” 939 F.3d 756, 764 (6th Cir. 2019) (emphasis in original) (finding that plaintiff had

 established the “injury” element of standing because the threat of punishment is sufficient).

        Like the plaintiff in Thompson who alleged that the professor “initiated student

 misconduct charges against the plaintiff in retaliation for plaintiff’s allegations of race

 discrimination,” 990 F. Supp. 2d at 812, Diei has alleged that “Chairperson George’s

 investigation and vote to dismiss Diei from the College of Pharmacy in September 2020 were

 also retaliatory actions against Diei because of her First Amendment protected speech . . . .”

 (Compl. ¶ 158.) Importantly, Diei does not know who filed the charges against her, and Diei will

 seek discovery to find out who made the complaint. It is plausible that Chairperson George

 herself made the complaints. Moreover, Diei has alleged that Chairperson George’s conduct did,

 in fact, chill and continues to chill Diei’s exercise of her right to engage in expressive First

 Amendment activity. (Id., ¶¶ 96–98, 160.) Finally, Diei believed that she was going to be

 expelled from September 4, 2020, to September 25, 2020, a nearly three-week period during

 which Diei suffered emotional distress from what she believed was the death-knell of her career

 in pharmacy. (Id., ¶ 100.) Considering that most graduate students in this country need their

 degree to enter their chosen profession and have accumulated hundreds of thousands of dollars in




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 student loan debt, it is simply unbelievable that having a committee vote to expel a student for

 protected speech would not deter a student of ordinary firmness from engaging in protected

 speech. See Schlissel, 939 F.3d at 765 (finding that the mere threat of an investigation and

 “implicit threat of consequence[s]” objectively chills speech).

        Defendants failed to provide the court with a complete First Amendment retaliation

 analysis, as noted above, but contend that Diei’s retaliation claim fails because the university did

 not take any “adverse action” against her. To support its argument, Defendants rely upon

 Benison v. Ross, a case involving a professor’s claim for First Amendment retaliation against a

 university, for the proposition that a professor may only challenge the “final decision” of a

 university when asserting a claim for First Amendment retaliation. 765 F.3d 649 (6th Cir. 2014).

 However, the Benison court based its reasoning on another case in the employment context,

 Dobbs-Weinstein v. Vanderbilt University, 185 F.3d 542, 545 (6th Cir. 1999).

        “In Dobbs-Weinstein, we held that a dean’s decision to deny tenure to a professor was not

 an adverse action because it was not an ‘ultimate employment decision.’” Benison, 765 F.3d at

 545. Critically, the Sixth Circuit has explained that the term “‘adverse action’” is different in the

 employment context than in the context of First Amendment retaliation claims by non-

 employees. Wurzelbacher v. Jones-Kelley, 675 F.3d 580, 583 (6th Cir. 2012). “Moreover,

 although the Sixth Circuit has not expressly overruled Dobbs-Weinstein, subsequent decisions

 have retreated from the ‘ultimate employment decision’ standard.” Barron v. Univ. of Notre

 Dame du Lac, 93 F. Supp. 3d 906, 913 (N.D. Ind. 2015) (citing Seoane-Vazquez v. Ohio State

 Univ., 577 F. App’x 418, 433 (6th Cir. 2014)). In the context of First Amendment retaliation

 claims by students, Defendants have not identified any cases in this Circuit that support their

 “final decision” theory. And outside the retaliation context, the Sixth Circuit has affirmed that




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 even the initiation of a purportedly “voluntary” referral process “is chilling even if it does not

 result in a finding of responsibility or criminality.” See Schlissel, 939 F.3d at 765. As illustrated

 by Thompson, and as implied by the court’s reasoning in Schlissel, courts in this Circuit have

 held that it is clearly established that it is unconstitutional to retaliate against a student for their

 protected speech, and that retaliation need not be a “final decision” as in the employment

 context.

             C. As Alleged in Diei’s Complaint, Defendants Voted to Expel Diei Because of
                Her Protected Speech.

         “To establish causation, [plaintiff] must demonstrate that its protected speech was ‘a

 substantial or motivating factor’ of the adverse action.” Anders, 984 F.3d at 1177 (citation

 omitted.) “A defendant’s motivation for taking action against the plaintiff is usually a matter best

 suited for the jury.” Paige v. Coyner, 614 F.3d 273, 282 (6th Cir. 2010). Here, Diei has alleged

 that Defendants specifically identified her protected speech as the cause for her punishment.

 (Compl., ¶¶ 80–82, 158.) As such, Diei has sufficiently alleged this prong of her claim.

                 Defendants Are Not Entitled to Qualified Immunity on Diei’s Fourth and
                 Fifth Causes of Action Because They Violated Clearly Established Law.

         “To defeat a claim of qualified immunity, the plaintiff must show that the official’s

 conduct (1) violated a constitutional right that (2) was clearly established.” Anders, 984 F.3d at

 1175. A right is clearly established when officials have “fair warning” that their conduct violates

 established law. Cahoo v. SAS Analytics Inc., 912 F.3d 887, 898 (6th Cir. 2019) (citation

 omitted). The Sixth Circuit has advised that “‘an official can be on notice that his conduct

 violates established law even in novel factual situations.” Id. (citation omitted). In evaluating

 whether a right is clearly established, this Court “must look first to decisions of the Supreme

 Court, then to decisions of [the Sixth Circuit] and other courts within our circuit, and finally to

 decisions of other circuits.” Id. (citation omitted). Looking to these decisions, “‘an action’s


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 unlawfulness can be apparent from direct holdings, from specific examples described as

 prohibited, or from the general reasoning that a court employs.’” Id. (citation omitted). “As [the

 Sixth Circuit has] repeatedly cautioned, it is generally “‘inappropriate for a district court to grant

 a 12(b)(6) motion to dismiss on the basis of qualified immunity. Although an officer’s

 ‘entitlement to qualified immunity is a threshold question to be resolved at the earliest possible

 point,’ that point is usually summary judgment and not dismissal under Rule 12.’’” Anders, 984

 F.3d at 1175 (citation omitted). “Although qualified immunity does protect the defendant from

 all burdens of litigation, including ‘the burdens of discovery,’ . . . the fact-intensive nature of a

 qualified immunity defense makes it ‘difficult for a defendant to claim qualified immunity on the

 pleadings before discovery . . . .’” Jenkins v. Jefferson Cty. Bd. of Educ., No. 3:19-CV-315-RGJ,

 2020 U.S. Dist. LEXIS 57145, at *7–8 (W.D. Ky. Apr. 1, 2020) (citations omitted) (denying

 motion to dismiss on the basis of qualified immunity because of the fact intensive nature of the

 claims).

             A. Defendants Violated Clearly Established Law by Disciplining Diei Because of
                Her Viewpoint.

         Defendants are not entitled to qualified immunity because it is well-settled that schools

 may not engage in viewpoint discrimination, which is precisely what Diei has alleged in the

 Complaint. As explained in Section III(A), Diei has alleged that Defendants invoked the “various

 professionalism policies” as pretext for punishing her because of her viewpoint—a fact that

 Defendants cannot dispute at this stage. Defendants had “fair warning” that they were not

 permitted to invoke a policy as pretext for viewpoint discrimination because the Sixth Circuit’s

 2012 decision in Ward unmistakably held that school administrators may not “invoke curriculum

 as a pretext for punishing” a student because of her viewpoint. Ward, 667 F.3d at 731 (citation

 omitted). Moreover, for decades, “[i]t [has been] firmly settled that under our Constitution the



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 public expression of ideas may not be prohibited merely because the ideas are themselves

 offensive to some of their hearers.” Street, 394 U.S. at 592.

        Defendants attempt to avoid liability for their unconstitutional conduct by arguing that

 “[t]he truth is that ‘[a]t the intersection of university speech and social media, First Amendment

 doctrine is unsettled.’ Yeasin v. Durham, 719 F. App’x 844, 852 (10th Cir. 2018).” (Defs.’ Ind.

 Mot., 27 of 29.) However, as discussed above, the Nixon case illustrates that the law in this

 circuit is not as “unsettled” as the Defendants would have this Court believe. Instead, the Nixon

 court provided a clear application of the Tinker, Fraser, and Hazelwood line of cases in relation

 to student social media use and held that school administrators may not punish such speech

 unless it falls within one of the permissible exceptions to the First Amendment. Moreover, three

 months before Defendants’ vote to expel Diei for her social media use, the Third Circuit engaged

 in an extensive analysis of Tinker, Fraser, and Hazelwood to protect students’ First Amendment

 rights in B.L. v. Mahanoy Area School District, 964 F.3d 170, 177–78 (3d Cir. 2020), cert.

 granted, 141 S. Ct. 976 (2021). In that case, the Third Circuit found that school administrators

 violated the First Amendment rights of a high school student for dismissing her from the

 cheerleading team because of a social media post in which the student wrote “‘Fuck school fuck

 softball fuck cheer fuck everything.’” Id. at 175. Based upon Nixon and Mahanoy, Defendants

 had “fair warning” that punishing Diei for her off-campus, online speech would violate the First

 Amendment principles established in Tinker, Fraser, and Hazelwood.

        Because clear precedent prohibits administrators from invoking a policy as pretext for

 viewpoint discrimination, and because Nixon gave Defendants “fair warning” that punishing Diei

 for her off-campus, online speech would violate the First Amendment, this Court should find that




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 the Individual Defendants are not entitled to qualified immunity on Diei’s Fourth Cause of

 Action.

              B. Defendants Violated Clearly Established Law by Retaliating Against Diei for
                 Her Protected Speech.

           Chairperson George is not entitled to qualified immunity because the law is well-

 established that state officials cannot retaliate against public university students for their

 protected expression. Thaddeus-X v. Blatter, 175 F.3d 378, 386 (6th Cir. 1999); see also

 Kesterson v. Kent State Univ., 967 F.3d 519, 525 (6th Cir. 2020) (citing Jenkins v. Rock Hill

 Local Sch. Dist., 513 F.3d 580, 585–86 (6th Cir. 2008)).

           As a less specific proposition, it is a clearly established principle that even the threat of

 an official action by the government in retaliation for protected speech could deter a person of

 ordinary firmness from engaging in protected speech. See Schlissel, 939 F.3d at 764–5 (finding

 that the threat of discipline and the attendant implicit threat of consequences has an objective

 chilling effect on speech); see also See Hill v. Lapin, 630 F.3d 468, 472–73 (6th Cir. 2010)

 (quoting Thaddeus-X, 175 F.3d at 398); see also Izen v. Catalina, 398 F.3d 363, 367 n.5 (5th Cir.

 2005) (“‘Any form of official retaliation for exercising one’s freedom of speech, including

 prosecution, threatened prosecution, bad faith investigation, and legal harassment, constitutes an

 infringement of that freedom.’”(citation omitted)). Even more specifically and as explained in

 Section IV(B) above, the Thompson court recognized that university officials are not exempt

 from the rule barring government officials from initiating an investigatory and disciplinary

 process in bad faith and in retaliation for an individual’s protected speech. 990 F. Supp. 2d at 812

 (rejecting a university-defendant’s argument he was entitled to qualified immunity because

 “there was no ‘clearly established law’ that would have put [the professor] on notice that the




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 ‘mere filing of a conduct charge’ would be an adverse action for First Amendment retaliation

 purposes.”).

         Because clear precedent prohibits public college and university administrators, like

 Chairperson George, from taking adverse action against students in response to their protected

 speech, this Court should find that Chairperson George is not entitled to qualified immunity on

 Diei’s Fifth Cause of Action.

                 Defendants’ “Various Professionalism Policies” Are Unconstitutionally
                 Overbroad and Vague.

         As an initial matter, Diei’s well-pled allegations state a claim that Defendants’ “various

 professionalism policies” are overbroad and vague, and this Court should ignore Defendants’

 extra-pleading submissions. Defendants contradict Diei’s allegations, asserting that it is

 undisputed that a policy entitled “Standards of the Health Professions” is applicable to College of

 Pharmacy students and submitting to this Court an excerpt of the CenterScope Student

 Handbook that contains that policy (Defs.’ Ind. Mot., 10–11 of 29.) Even if this Court considers

 the Student Handbook or the policies contained within it, Defendants’ policies are still facially

 overbroad and vague. As discussed in Part B of this section, the policies contained in the Student

 Handbook do not pass constitutional muster under the Sixth Circuit’s overbreadth jurisprudence,

 and, as discussed in Part C of this section, those policies are void for vagueness. Lastly, Part D

 addresses Defendants’ argument that their policies should enjoy a presumption of

 constitutionality.

             A. Diei’s First and Second Causes of Action Sufficiently State Facial Claims for
                Overbreadth and Vagueness.

         The Official Capacity Defendants’ Motion to Dismiss the First, Second, and Third

 Causes of Action fails to take the allegations in Diei’s Complaint as true. To determine whether

 Diei’s facial challenges to Defendants’ “various professionalism policies” state a claim, this


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 Court should ignore Defendants’ extra-pleading submissions and take Diei’s allegations in the

 Complaint as true. See Casas, 2018 U.S. Dist. LEXIS 222089, at *20–21.

        In her Complaint, Diei sufficiently pleads that Defendants’ policies are unconstitutionally

 overbroad. As discussed further below, a regulation is overbroad if it is (1) related to the

 suppression of expression, (2) does not “further an important or substantial government interest,”

 and (3) “burden[s] substantially more speech than necessary to further [the] interest.” Blau v.

 Fort Thomas Pub. Sch. Dist., 401 F.3d 381, 391 (6th Cir. 2005) (citations omitted). As such,

 restrictions on expression must further the College of Pharmacy’s pedagogical interest in training

 future pharmacists. Diei alleges that Defendants’ “various professionalism policies” directly

 regulate expression, going so far as to allow for punishment of social media content that

 administrators deem to be “unprofessional.” (Compl., ¶ 105.) Diei also unambiguously alleges

 that Defendants’ policies punish a broad range of protected expression — including students’

 off-campus, personal expression — for no legitimate pedagogical reason. (Id., ¶¶ 103–104.)

 These allegations state a claim that Defendants maintain policies that restrict more expression

 than is necessary to serve their interests, and are therefore overly broad.

        In her Complaint, Diei sufficiently pleads that Defendants’ policies are unconstitutionally

 vague. As discussed further below, a regulation is void for vagueness if they fail to provide “fair

 warning” of prohibited conduct and fail to provide explicit standards to guide enforcement.

 Grayned v. City of Rockford, 408 U.S. 104, 108–09 (1972). Diei’s allegations demonstrate that

 Defendants’ policies fail to provide this “fair warning” to students, and do not provide the

 Committee with objective standards to enforce those policies. First, Diei alleges that she has

 never seen Defendants’ “various professionalism policies.” (Id., ¶¶ 36–40.) In fact, she alleges

 that the link to Defendants’ policy titled “Standards of Student Professionalism Conduct” does




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 not function, and that she was not even provided with a copy of the “policy/guidelines” the

 Committee applied during its investigation. (Id., ¶¶ 39, 66–69). Defendants’ failure to provide

 students with notice of the policies applicable to them is a clear example of a policy that

 threatens to “trap the innocent by not providing fair warning.” Grayned, 408 U.S. at 108.

 Further, Diei alleges that Defendants’ “various professionalism policies” allow for

 discrimination based on viewpoint. (Compl., ¶¶ 104–105, 118.) This type of subjective discretion

 by its nature lacks objective, explicit standards of enforcement. As such, Diei’s allegations state

 a claim that Defendants maintain policies that provide no notice of proscribed activity or

 objective standard of enforcement and allow unbridled discretion to administrators, and are

 therefore void for vagueness.

        Diei has alleged that Defendants did not provide her with the policy she allegedly

 violated and that Defendants’ website that allegedly housed these policies did not work. (Id.,

 ¶ 36–40.) In short, by arguing that the “Standards of the Health Professions” contained in the

 CenterScope Student Handbook is the applicable policy, Defendants do not accept Diei’s

 allegations as true. However, even if this Court finds that the Student Handbook is fairly

 incorporated into Diei’s Complaint and therefore considers Defendants’ extra-pleading

 submission of the policies contained therein, their policies are both overbroad and vague.

            B. Defendants’ “Standards of the Health Professions” Are Unconstitutionally
               Overbroad.

        The policies in the Student Handbook that Defendants argue are applicable to Diei and

 College of Pharmacy students fail each prong of the Sixth Circuit’s overbreadth test. First, they

 are related to the suppression of expression, not merely non-expressive conduct. Second, they do

 not serve a legitimate pedagogical interest. And third, they burden substantially more expression

 than is necessary to further the University of Tennessee’s interest in educating competent future



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 pharmacists or the State of Tennessee’s interest in “regulation and control” of the “practice of

 pharmacy.” Tenn. Code Ann. § 63-10-202.

         A law or regulation that “punishes a ‘substantial’ amount of protected free speech,

 ‘judged in relation to [its] plainly legitimate sweep’” is overbroad. Virginia v. Hicks, 539 U.S.

 113, 118–19 (2003) (citation omitted). As explained above in Part A, under the Sixth Circuit’s

 test for assessing the facial validity of an allegedly overbroad restriction on expressive conduct,

 the regulation fails if it is (1) related to the suppression of expression, (2) does not “further an

 important or substantial government interest,” and (3) “burden[s] substantially more speech than

 necessary to further [the] interest.” Blau, 401 F.3d at 391 (citations omitted); see also Yoder, 526

 F. App’x at 547.

         Diei disputes that she was ever provided with the text of Defendants’ “various

 professionalism policies.” Defendants present the “Standards of the Health Professions” as the

 policy applicable to its College of Pharmacy students. (Defs.’ Off. Mot., 14 of 21.) That policy,

 in pertinent part, states that University of Tennessee Health Science Center students can be

 subject to discipline for “misconduct” that “would bring disrepute or disgrace upon both the

 student and profession” and “would tend to substantially reduce or eliminate the student’s ability

 to effectively practice the profession in which discipline he or she is enrolled.” Id.

                 1. Defendants’ “Standards of the Health Professions” Restrict Protected
                    Speech and Expressive Conduct.

         The First Amendment’s protections extend not only to speech but also to expressive

 conduct. See Blau, 401 F.3d at 388 (conduct is expressive when it “‘conveys a particularized

 message’ and ‘the likelihood [is] great that the message will be understood by those who view[]

 it’”) (alteration in original) (citations omitted)); Texas v. Johnson, 491 U.S. 397, 404 (1989)

 (“[The First Amendment’s] protection does not end at the spoken or written word.”); R.A.V. v.



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 City of St. Paul, 505 U.S. 377, 382 (1992) (including expressive conduct within the ambit of the

 First Amendment’s protections).

         Defendants frame their professionalism policies as being aimed at restricting only

 conduct. (Defs.’ Off. Mot., 15 of 21.) But the plain text of the policy also demonstrates that it has

 more than an “incidental” effect on speech. See Becerra, 138 S. Ct. at 2372. It applies to

 expression that would bring “disrepute or disgrace” upon the student or the practice of pharmacy.

 (Defs.’ Off. Mot., 14 of 21.) As the Committee’s investigation of Diei demonstrates, Defendants

 consider protected expression on social media — not merely conduct — to fall with the ambit of

 these policies. Because Defendants’ policies restrict expression, not merely conduct, this Court

 should find that Diei has sufficiently pled the first prong of her overbreadth claim.

                 2. Defendants Have no Pedagogical Interest in Punishing Students’ Personal
                    Expression or Expressive Conduct on Social Media.

         To survive an overbreadth challenge, a restriction on expressive conduct must “further[]

 an important or substantial government interest.” Blau, 401 F.3d at 391 (citation omitted).

 Defendants have identified their interest in the “larger context of state regulation of pharmacists,

 accreditation standards” and what they characterize as “the long-time standard practice of

 American colleges of pharmacy to teach and require adherence to professional standards,” as the

 State of Tennessee does in its regulation of the profession. (Defs.’ Off. Mot., 9–10 of 21.) As a

 general matter, this is undoubtedly an “important or substantial government interest.” Id. But

 Defendants’ policies extend much further than what is necessary to protect “integrity and dignity

 in the profession of pharmacy.” Tenn. Code. Ann. § 63-10-304(c).

         Regulation of students’ protected expression on social media, particularly when that

 expression has no bearing on the student’s ability to perform the duties attendant with their

 studies or the profession itself, is outside the scope of this general interest in protecting the



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 “integrity and dignity” of the profession as a whole. Id. Defendants have no legitimate

 pedagogical reason for the regulation of the off-campus, personal expression of students that is

 unrelated to the school’s curriculum or activities. (Compl., ¶ 104, 130). And the Sixth Circuit has

 held that to comply with the First Amendment professionalism policies must further such a

 pedagogical interest. See Ward, 667 F.3d at 734. As discussed below, because Defendants have

 not identified an “important and substantial” interest that warrants such a broad restriction on

 expression, this Court should find that Diei has sufficiently pled the second prong of her

 overbreadth claim.

                3. Defendants’ Professionalism Policies Burden More Speech Than
                   Necessary to Further Their Interests.

        Defendants’ policies burden substantially more protected expression than is necessary to

 further their interest in preparing students to enter the profession as pharmacists. As discussed

 above, Defendants highlight that the state of Tennessee has an interest in regulating the

 profession of pharmacy as a matter of health, safety, and welfare (Defs.’ Off. Mot., 12 of 21), but

 do not identify any legitimate pedagogical interest in regulating student expression on the

 personal social media accounts of students studying to become a pharmacist.

        In Yoder, a nursing student published a blog post detailing a labor and delivery she

 witnessed during her clinical program in the University of Louisville’s School of Nursing.

 Administrators alleged that Yoder’s blog post violated the School of Nursing Honor Code, the

 “standards of the profession,” and a Confidentiality Agreement Yoder signed when she began

 her clinical experience, and dismissed her from the program. Yoder, 526 F. App’x at 541. Yoder

 challenged the Honor Code, Confidentiality Agreement, and Consent Form she also signed

 before her clinical experience as unconstitutionally overbroad. Without analyzing the full sweep

 of the Honor Code itself, the court disagreed and held that the policies at issue furthered the



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 School of Nursing’s effort to “restrict the dissemination of patient information for purposes of

 teaching students about their confidentiality responsibilities” as well as ensuring that confidential

 patient information was not disseminated. Id. at 548.

        This case, the text of Defendants’ policies, and their practice of applying those policies to

 off-campus student expression, are distinguishable from Yoder in two ways. First, the expression

 at issue in Yoder concerned a clinical experience that was part of an educational program, not the

 expression of personal viewpoints off-campus and wholly divorced from Yoder’s status as a

 student. Second, Yoder’s post implicated the privacy rights of others, which was the dispositive

 factor for the court in analyzing whether the university’s policies were overbroad. Id. at 548.

 These two factors distinguish the College of Pharmacy’s policies —which sweep within their

 ambit a broad swath of student expression unrelated to the practice of pharmacy — from the

 policies at issue in Yoder as characterized by the court.

        Defendants’ policies also fail to satisfy the “government interest” prong of the

 overbreadth test when measured against the Sixth Circuit’s reasoning in Blau. 401 F.3d 381

 (citation omitted). Blau, a middle school student, challenged her school’s dress code as

 overbroad because she wanted to wear clothes she “fe[lt] good in.” Id. at 386. The school

 identified its interest in promulgating the dress code as purpose as “to ‘create unity, strengthen

 school spirit and pride, and focus[] attention upon learning and away from distractions,’ . . .

 which is consistent with the Council's statutory mandate to implement policies that ‘provide an

 environment to enhance the students' achievement and help the school meet [its] goals.’” Id. at

 391 (citation omitted). And the only evidence Blau presented that the dress code was viewpoint-

 discriminatory and targeted towards expression was that the principal once said that although the




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 school was high-achieving, that didn’t mean the administration was foreclosed from “let[ting]

 the students know what we feel is appropriate.” Id.

        Defendants’ policies extend to student expression that is completely removed from the

 practice of pharmacy or education of pharmacists, and instead encompass anything that

 administrators subjectively deem to bring “disrepute or disgrace” to the profession generally.

 And as the Committee has made clear, it interprets these regulations to include what its members

 subjectively deem to be “vulgar,” “crude,” and “sexual” expression. This, unlike the principal’s

 statement concerning “appropriate” dress for school in Blau, demonstrates a hostility towards

 certain viewpoints that the Committee subjectively determines are “unprofessional,” even if

 expression of those viewpoints occurs on social media and is completely removed from the

 practice of pharmacy and does not serve any pedagogical interest. 401 F.3d at 391. Finally, as

 demonstrated by Defendants’ improper reliance on Diei’s 2019 social media posts, Defendants

 also believe that their policies extend to regulating the speech of their students on social media,

 even if that speech occurred before the student began their studies at the university.

        Even expression that some find offensive or in poor taste remains protected by the First

 Amendment. See Barr, 538 F.3d at 568 (“If there is a bedrock principle underlying the First

 Amendment, it is that the government may not prohibit the expression of an idea simply because

 society finds the idea itself offensive or disagreeable.”) (quoting Johnson, 491 U.S. at 414). And,

 as noted above, the Supreme Court has recently affirmed that “[g]iving offense is a viewpoint.”

 Matal, 137 S. Ct. at 1763. Defendants’ interest in regulating the profession of pharmacy and

 education of future pharmacists simply does not allow for the viewpoint-based regulation of

 expression which their policies permit.




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        Defendants point out that the Standards of the Health Professions policy requires the

 Committee to determine that the student’s behavior “would tend to substantially reduce or

 eliminate the student’s ability to effectively practice the profession [of pharmacy]” in order to

 warrant discipline. (Defs.’ Off. Mot., 17–18 of 21.) However, Defendants’ actions with respect to

 their 2019 and 2020 investigation into Diei’s personal social media demonstrate that in practice

 the policy is not so limited — the Committee did not indicate how Diei’s personal social media

 (some of which were made before Diei began her studies) impacted her ability to practice

 pharmacy, and instead simply concluded that her posts were “a serious breach of the norms and

 expectations of the profession . . . .” (Compl., ¶ 82.)

        Because Defendants’ policies restrict students’ personal, online expression that has no

 relation to the practice of pharmacy or their education, they restrict more expression than is

 necessary to further their interest in protecting the “integrity” of the profession of pharmacy and

 this Court should deny Defendants’ motion to dismiss Diei’s First Cause of Action.

            C. Defendants’ Standards of the Health Professions Are Unconstitutionally
               Vague.

        Defendants’ “Standards of the Health Professions” do not satisfy the vagueness standard

 for two primary reasons. First, they do not define what type of conduct is so unprofessional as to

 bring “disrepute or disgrace” to the student or the profession. Second, they leave administrators

 with unbridled discretion to subjectively determine of what kind of expression rises to these

 ambiguous standards of professionalism.

        The Sixth Circuit has “recognized that the vagueness doctrine has two primary goals:

 (1) to ensure fair notice to the citizenry and (2) to provide standards for enforcement . . . .”

 McGlone v. Cheek, 534 F. App’x 293, 297 (6th Cir. 2013) (quoting Ass’n of Cleveland Fire

 Fighters v. Cleveland, 502 F.3d 545, 551 (6th Cir. 2007)); see also Papachristou v. City of



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 Jacksonville, 405 U.S. 156, 162 (1972). A regulation violates the Due Process Clause of the

 Fourteenth Amendment and is void for vagueness if a person of ordinary intelligence cannot

 distinguish between permissible and prohibited conduct. Grayned, 408 U.S. at 108. Unclear,

 vague rules and regulations like Defendants’ “various professionalism policies” — including the

 Standards for the Health Professions, which Defendants identify as the applicable policy — are

 incompatible with students’ due-process rights.

                1. Defendants Failed to Provide Their Students with Proper Notice of
                   Proscribed Activities.

        Defendants wrongly contend that the “Standards of the Health Professions” policy

 applies to Diei and all College of Pharmacy students. (Defs.’ Ind. Mot., 10–11 of 29.) However,

 Diei alleges that she was never provided with a copy of the professionalism policies Defendants

 applied to discipline her and has never seen the “Standards of the Health Professions.” (Compl.,

 ¶¶ 115–116.) She alleges that she was informed that the College of Pharmacy maintains a policy

 called “Standards of Student Professionalism Conduct,” but that the link to that policy was not

 functioning, and that she was not provided with a copy of the “policy/guidelines” the Committee

 was applying during its investigation despite requests to Chairperson George. (Compl. ¶¶ 39, 66–

 69). At this stage, Defendants must accept Diei’s allegations as true and construe them in the

 light most favorable to her, which Defendants simply do not do by arguing that Diei had notice

 of the “Standards of the Health Professions.” Casas, 2018 U.S. Dist. LEXIS 222089, at *21.

        Even if, as Defendants allege, the Committee applied the “Standards of the Health

 Professions” to investigate and discipline Diei, that policy is void for vagueness because it does

 not provide students with “‘fair warning’ of proscribed conduct . . . .” Miller v. City of

 Cincinnati, 622 F.3d 524, 539 (6th Cir. 2010). As explained above, the policy allows the

 Committee to discipline students when their expression “would bring disrepute and disgrace



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 upon both student and profession and which would tend to substantially reduce or eliminate the

 student’s ability to effectively practice the profession in which discipline he or she is enrolled.”

 (Defs.’ Off. Mot., 13 of 21.) The policy does not define “disrepute” or “disgrace.”

        The Sixth Circuit has recognized that, in light of the Supreme Court’s decision in

 Minnesota Voters Alliance v. Mansky, when a state actor restricts expression that restriction must

 be “capable of reasoned application.” Am. Freedom Def. Initiative v. Suburban Mobile Auth.,

 978 F.3d 481, 494 (6th Cir. 2020) (quoting Mansky, 138 S. Ct. 1876, 1892 (2018)). In Mansky,

 the Supreme Court found that Minnesota’s ban on “political” apparel in polling places was

 unreasonable because the state presented no workable definition of what was political, “[a]nd the

 word can be expansive.” Mansky, 138 S. Ct. at 1888. Even though the Court found that

 Minnesota had an interest in regulating the messages conveyed inside polling locations “in light

 of the special purpose of the polling place itself,” the ordinance did not pass constitutional

 muster. Id. And in American Freedom Defense Initiative, the Sixth Circuit similarly found that

 the regulation at issue failed constitutional muster because it did not define the word “political,”

 and the defendant could not point to guidance that provided a “workable standard[]” by which to

 apply the regulation. 978 F.3d at 494–95. As with the term “political” in Mansky and Am.

 Freedom Def. Initiative, Defendants’ use of the terms “disrepute” or “disgrace” in the “Standards

 of the Health Professions” policy fails to provide students with any workable definition that

 would allow them to determine what conduct is prohibited.

        Because Defendants’ policies fail to define or provide students with any guidance as to

 the type of expression considered disgraceful or causing disrepute, this Court should deny

 Defendants’ motion to dismiss Plaintiff’s Second Cause of Action.




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                2. Defendants’ Policies Provide College of Pharmacy Administrators
                   Unbridled Discretion to Punish Speech They Dislike.

        The College of Pharmacy’s various professionalism policies are also void for vagueness

 because they provide unbridled discretion for enforcement to the Committee. The void for

 vagueness doctrine “protects citizens against the impermissible delegation of basic policy

 matters ‘for resolution on an ad hoc and subjective basis, with the attendant dangers of arbitrary

 and discriminatory application.’” Miller, 622 F.3d at 539 (citation omitted).

        Even if, as Defendants suggest, the Committee applied the Standards of the Health

 Professions to discipline Diei, the delegation of enforcement of this professionalism policy to the

 Committee, which appears to act in concert with the judgment of Chairperson George, violates

 the vagueness doctrine. The Committee’s interpretation of the Standards for the Health

 Professions prohibition on expression that is unprofessional in that it would bring “disrepute and

 disgrace” to the student and the profession allows it unbridled discretion to determine what is too

 “sexual” in nature for an adult to post on their personal social media account. In Diei’s case, the

 Committee voted unanimously that her expression was “crude,” vulgar,” and “sexual” —

 apparently based on their interpretation of the Standards for Health Professions.

        That the Committee’s decision was reviewable by Dean Chisholm-Burns does not save

 the policies from vagueness. While Dean Chisholm-Burns was right to overturn the Committee’s

 decision, she unquestionably exercised unbridled discretion in making her determination. A

 public institution’s policies cannot survive a vagueness challenge merely because one

 administrator — in this case, the individual currently serving as Dean — may exercise unbridled

 discretion to either defend or punish protected speech. And a policy under which a single

 supervisory individual, at their sole prerogative, can overturn the decision of another individual

 or group without any clear standards is still too vague to pass constitutional muster. See Univ. of



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 Cincinnati Chapter of Young Am. for Liberty v. Williams, No. 1:12-cv-155, 2012 U.S. Dist.

 LEXIS 80967, at *25–28 (S.D. Ohio June 12, 2020) (finding that students’ vagueness challenge

 to a university policy that “provided university officials with unbridled discretion to determine

 what constitutes a ‘demonstration, picket, or rally’” was likely to succeed on the merits).

        Because Defendants’ policies give administrators unbridled discretion to punish students’

 by invoking “various professionalism policies” to punish viewpoints they do not like, this Court

 should find that Diei has pled that they are void for vagueness and deny Defendants’ motion to

 dismiss the Second Cause of Action.

            D. Defendants’ Policies Are Not Immune from Judicial Review.

        Defendants assert that their policies are entitled to deference because their policies track

 the State Board of Pharmacy Standards, and are otherwise “limited” by the Tennessee Campus

 Free Speech Act. (Defs.’ Off. Mot., 15 of 21.) This is inconsistent with both Sixth Circuit and

 Supreme Court precedent.

        Regulations implicating fundamental rights, such as First Amendment rights, do not

 enjoy any presumption of constitutionality. See Lac Vieux Band of Lake Superior Chippewa

 Indians v. Mich. Gaming Control Bd., 172 F.3d 397, 410 (6th Cir. 1999) (finding that because

 the challenged ordinance implicated a fundamental right under the First Amendment it was

 subject to strict scrutiny rather than afforded the generous “presumption of validity” under

 rational basis review (quoting Heller v. Doe, 509 U.S. 312, 319-20 (1993)); see also United

 States v. Playboy Entm’t Grp., 529 U.S. 803, 816 (2000) (“When the Government restricts

 speech, the Government bears the burden of proving the constitutionality of its actions.”) And

 when it comes to students’ First Amendment rights, “[the] Court is the final arbiter of the

 question whether a public university has exceeded constitutional constraints, and we owe no

 deference to universities when we consider that question.” Christian Legal Soc’y of the Univ. of


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 Cal. v. Martinez, 561 U.S. 661, 686 (2010). This is true even in cases where there is a dispute as

 to whether a state actor is entitled to qualified immunity. See Citizens in Charge, Inc. v. Husted,

 810 F.3d 437, 441–42 (6th Cir. 2016) (“The enforcement of a presumptively valid law . . . does

 not automatically entitle officials to qualified immunity.”).

        In defense of their policies, Defendants note that they have been in place for many years

 and cite Ward v. Rock Against Racism, 491 U.S. 781 (1989) for the proposition that the

 “interpretation and implementation” of the policy since it went into place in 2001 demonstrates

 that it is not facially overbroad. (Defs.’ Off. Mot., 16–17 of 21). Defendants also fault Diei for

 being unable to identify other instances in which the university’s various professionalism

 policies have been used to censor student expression and purport that it is evidence that, as in

 Rock Against Racism, they have narrowed the policy. But in Rock Against Racism it was the

 defendant who offered evidence of its own narrowing of the allegedly overbroad noise

 ordinance. 491 U.S. at 796; see also Mansky, 138 S. Ct. at 1883 (finding that a century-old ban

 on political apparel violated the First Amendment). Defendants have not presented such a

 limiting principle. Instead, their discipline of Diei demonstrates that the professionalism policies

 they maintain can stretch to cover social media activity or speech that, by the Committee’s

 definition, is “vulgar,” “crude,” and “sexual.”

        Because the presumption of constitutionality afforded to state legislation does not apply

 to regulations implicating fundamental rights, Defendants’ policies are reviewable by this court.

 under the First and Fourteenth Amendments (Compl., ¶¶ 102, 114, 127–28), this Court should

 apply strict scrutiny to Defendants’ professionalism policies rather than presume that those

 policies are constitutional because they are long-standing and track the language of a statute.




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                                        CONCLUSION

        For the foregoing reasons, Official Capacity Defendants’ Motion to Dismiss Plaintiff’s

 First, Second, and Third Causes of Action and Individual Capacity Defendants’ Motion to Dismiss

 Plaintiff’s Fourth and Fifth Causes of Action under Federal Rules of Civil Procedure 12(b)(6)

 should be denied in their entirety.

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